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                  IN THE UNITED STATES DISTRICT COURT
                                                                             OCT 0 5 2020
               EGR THE NORTHERN DISTRICT OE OKLAHOM^rk C M-Cam                               ,
                                                                        U.S. DISTRICT COURT
 UNITED STATES OE AMERICA,                      Case No. 20-CR-059-JED


                     Plaintiff,                SUPERSEDING INDICTMENT
                                               [COUNT 1: 18 U.S.C. §§ 2261A(1)(B),
 V.                                            2261(b)(5), and 1151—Stalking;
                                               COUNT 2: 18 U.S.C. § 922(g)(3) and
 JEREMY RYAN WETCH,                            924(a)(2)—Unlawful User of a
                                                Controlled Substance in Possession of
                     Defendant.                 Firearms and Ammunition]


      THE GRAND JURY CHARGES:


                                     COUNT ONE
                  [18 U.S.C. §§ 2261A(1)(B), 2261(b)(5), and 1151]

      From on or about October 9, 2018, to on or about October 12, 2018, within Indian

Country in the Northern Distriet of Oklahoma and elsewhere, the defendant, JEREMY

RYAN WETCH, traveled in interstate commeree from Akron, Colorado, to Tulsa,

Oklahoma, and while doing so entered and left Indian Country, with the intent to harass

and intimidate M.M. a person known to the Grand Jury, and in the course of and as a result

ofsuch travel engaged in eonduct that caused, attempted to cause, and would be reasonably

expeeted to cause substantial emotional distress to M.M.

      All in violation of Title 18, United States Code, Sections 2261A(1)(B), 2261(b)(5),

and 1151.
                                    COUNT TWO
                        [18 U.S.C. §§ 922(g)(3) and 924(a)(2)]

      On or about October 12, 2018, in the Northern District of Oklahoma and elsewhere,

the defendant, JEREMY RYAN WETCH, knowing that he was an unlawful user of

marijuana, a Schedule I controlled substance, did knowingly possess in and affecting

interstate commerce the following firearms and ammunition:

      1. Smith & Wesson, Model 629-8,.44 Magnum caliber revolver, s/n: CPR8397;

      2. Beretta, Model 21A,.22LR caliber pistol, s/n: DAA424570;

      3. Beretta, Model PX4 Storm,.45 Auto caliber pistol, s/n: PK10258;

      4. Five(5)rounds of Remington brand .22LR caliber ammunition;

      5. Two(2)rounds of Federal brand 12-gauge caliber ammunition;

      6. Five(5)rounds ofPMC brand .44 Remington Magnum caliber ammunition;

      7. One Hundred Nine(109)rounds of Winchester brand .45 Auto caliber
      ammunition; and

      8. Eighty Nine(89)rounds of Winchester Military Ammunition brand .45 Auto
      caliber ammunition.



      All in violation of Title 18, United States Code, Sections 922(g)(3) and 924(a)(2).

R. TRENT SHORES                                A TRUE BILL
UNITED STATES ATTORNEY



                                               /s/ Grand Jury Foreperson
M. SCOTT PROCTOR                               Grand Jury Foreperson
Assistant United States Attorney
